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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


                                 )
UNITED STATES OF AMERICA         )
                                 )
                                 )
          v.                     )     Criminal No. 17-232-01 (EGS)
                                 )
MICHAEL T. FLYNN                 )
                                 )
               Defendant         )
                                 )

                                 ORDER

     Pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its

progeny, the government has a continuing obligation to produce

all evidence required by the law and the Federal Rules of

Criminal Procedure.   See 373 U.S. at 87 (holding that due process

requires disclosure of “evidence [that] is material either to

guilt or to punishment” upon request); Kyles v. Whitley, 514

U.S. 419, 437-38 (1995) (holding that the obligation to disclose

includes evidence “known only to police investigators and not to

the prosecutor” and that “the individual prosecutor has a duty

to learn of any favorable evidence known to others acting on the

government’s behalf . . . , including the police”);United States

v. Agurs, 427 U.S. 97, 107 (1976) (holding that the duty to

disclose exculpatory evidence applies even when there has been

no request by the accused); Giglio v. United States, 405 U.S.

150, 153-54 (1972) (holding that Brady encompasses impeachment

evidence); see also Fed. R. Crim. P. 16(a) (outlining information
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subject to government disclosure); United States v. Marshall,

132 F.3d 63, 67 (D.C. Cir. 1998) (holding that the disclosure

requirements of Federal Rule of Criminal Procedure 16(a)(1)(C)

apply to inculpatory, as well as exculpatory, evidence).

      The government’s obligation to provide exculpatory

evidence pursuant to Brady in a timely manner is not diminished

either by the fact that such evidence also constitutes evidence

that must be produced later pursuant to the Jencks Act, 18

U.S.C. § 3500, or by the fact that such evidence need not be

produced according to Rule 16.             See United States v.

Tarantino, 846 F.2d 1384, 1414 n.11 (D.C. Cir. 1988); see also

Advisory Committee Note to Fed.R. Crim. P. 16 (1974) (“The rule

is intended to prescribe the minimum amount of discovery to

which the parties are entitled.”). Where doubt exists as to the

usefulness of the evidence to the defendant, the government

must resolve all such doubts in favor of full disclosure.                 See

United States v. Paxson, 861 F.2d 730, 737 (D.C. Cir. 1988).

      Accordingly, the Court, sua sponte, directs the government

to produce to defendant in a timely manner – including during

plea negotiations1 – any evidence in its possession that is



      1
       See United States v. Ohiri, 133 F. App’x 555, 562 (10th Cir. 2005);
United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998); Sanchez v. United
States, 50 F.3d 1448, 1453 (9th Cir. 1995); White v. United States, 858 F.2d
416, 422 (8th Cir. 1988); Campbell v. Marshall, 769 F.2d 314, 322-24 (6th Cir.
1985); United States v. Nelson, 979 F. Supp. 2d 123, 135-136 (D.D.C. 2013 );
Buffey v. Ballard, 782 S.E. 2d 204 (W. Va. 2015).

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favorable to defendant and material either to defendant’s guilt

or punishment. The government is further directed to produce all

discoverable evidence in a readily usable form.        For example, the

government must produce documents as they are kept in the usual

course of business or must organize and label them clearly.           The

government must also produce electronically stored information

in a form in which it is ordinarily maintained unless the form

is not readily usable, in which case the government is directed

to produce it in a readily usable form. If the information

already exists or was memorialized in a tangible format, such as

a document or recording, the information shall be produced in

that format. If the information does not exist in such a format

and, as a result, the government is providing the information in

a summary format, the summary must include sufficient detail and

specificity to enable the defense to assess its relevance and

potential usefulness.

     Finally, if the government has identified any

information which is favorable to the defendant but which the

government believes not to be material, the government shall

submit such information to the Court for in camera review.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          December 12, 2017




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